                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:06cr55



UNITED STATES OF AMERICA                         )
                                                 )
                      vs.                        )
                                                 )                        ORDER
                                                 )
KHOA NGUYEN (7)                                  )
                                                 )




       THIS MATTER is before the Court on the government’s motion (Doc. No. 249) to

unseal the Court’s Order entered on June 8, 2006 (Doc. No. 129). The motion recites that counsel

for the defendant does not oppose the government’s request.

       IT IS, THEREFORE, ORDERED that the government’s motion is GRANTED and the

Court’s Order entered on June 8, 2006 (Doc. No. 129) is UNSEALED.


                                                Signed: August 22, 2007




       Case 3:06-cr-00055-RJC        Document 250        Filed 08/23/07    Page 1 of 1
